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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. SACV 17-00161 JLS (JEM)                                    Date: May 23, 2017
 Title: Consumer Financial Protection Bureau v. Vincent Howard, et al.

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                               N/A
          Deputy Clerk                                             Court Reporter

   Attorneys Present for Plaintiff:                        Attorneys Present for Defendant:

            Not Present                                              Not Present

 Proceedings:          (In Chambers) SCHEDULING ORDER

         On the Court’s own motion, the Scheduling Conference set for hearing May 26, 2017 is
 VACATED and taken off calendar, and the following dates are set. Counsel’s attention is
 directed to the Court’s Civil Trial Order filed concurrently with this Minute Order. Generally,
 motions should be set for hearing on the Court’s first available date. Finally, the dates below
 have been adjusted in accordance with the Order Setting Scheduling Conference and will not be
 continued absent a showing of good cause. See Fed. R. Civ. P. 16(b)(4).

 Last Day to File a Motion to Add Parties and Amend Pleadings:             July 25, 2017

 Fact Discovery Cut-off:                                                   May 8, 2018

 Last Day to File Motions (excluding Daubert Motions
 and all other Motions in Limine):                                         May 18, 2018

 Last Day to Serve Initial Expert Reports:                                 May 22, 2018

 Last Day to Serve Rebuttal Expert Reports:                                June 19, 2018

 Last Day to Conduct Settlement Proceedings:                               July 10, 2018

 Expert Discovery Cut-off:                                                 July 13, 2018

 Last Day to File Daubert Motions:                                         July 20, 2018

 Last Day to File Motions in Limine (excluding Daubert motions):           August 10, 2018

 Final Pretrial Conference (1:30 p.m.):                                    September 7, 2018
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                          CIVIL MINUTES – GENERAL                            1
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

 Case No. SACV 17-00161 JLS (JEM)                                    Date: May 23, 2017
 Title: Consumer Financial Protection Bureau v. Vincent Howard, et al.

 Exhibit Conference (3:30 p.m.):                                                              September 28, 2018

 Court Trial (9:00 a.m.):                                                                     October 2, 2018

 Trial Estimate:1                                                                             10 days

                                                                                Initials of Preparer: tg




 1
     This is the parties’ estimate. The Court may allot fewer days for trial.
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                          CIVIL MINUTES – GENERAL                            2
